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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                 FORT LAUDERDALE DIVISION

  HOWARD COHAN,

         Plaintiff,                                            CASE NO.: 0:21-cv-61747-AHS

  vs.

  FIRST COAST ENERGY LLP,
  a Florida Limited Liability Partnership

        Defendant(s).
  ____________________________________/
                            NOTICE OF SETTLEMENT

         The Plaintiff, HOWARD COHAN, by and through his undersigned counsel, hereby

  notifies the Court that the instant action has settled. Accordingly, the Plaintiff expects to file a

  Notice of Voluntary Dismissal within thirty (30) days and should not be required to file any further

  responses, motions, and/or pleadings.



         RESPECTFULLY SUBMITTED September 28, 2021.


   By: /s/ Gregory S. Sconzo
   Gregory S. Sconzo, Esq.
   Florida Bar No.: 0105553
   Sconzo Law Office, P.A.
   3825 PGA Boulevard, Suite 207
   Palm Beach Gardens, FL 33410
   Telephone: (561) 729-0940
   Facsimile: (561) 491-9459
   Email: greg@sconzolawoffice.com
   Email: alexa@sconzolawoffice.com
   Attorney for Plaintiff




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                                CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on September 28, 2021, I electronically filed the foregoing

  document with the Clerk of the Court using CM/ECF. I also certify that the foregoing document

  is being served this day on Defendant’s Counsel, Lee D. Wedekind, III, via email at:

  lee.wedekind@nelsonmullins.com



                                                    _ /s/ Gregory S. Sconzo
                                                    Gregory S. Sconzo, Esq.




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